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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


  KETO NORD HODGES, et al.,

        Plaintiffs,

        v.                                        Case No. 8:24-cv-879

  KATHLEEN PASSIDOMO, et al.,

        Defendants.
  _____________________________/

    THE SECRETARY’S MOTION FOR A RULE 26(c) PROTECTIVE ORDER

        Defendant Secretary of State Cord Byrd files another discovery motion. This

  time, it’s to prevent Plaintiffs from deposing his 30(b)(6) representative at the ACLU’s

  Tallahassee office. Because Plaintiffs’ position is substantially unjustified, the

  Secretary seeks fees under Federal Rules of Civil Procedure 26(c)(3) and 37(a)(5).

                                        Background

        The Department of State, which the Secretary oversees, is headquartered at the

  R.A. Gray Building, 500 South Bronough Street, Tallahassee, Florida 32399. See also

  Fla. Stat. § 15.01 (describing the Secretary’s duties).

        On October 1, 2024, Plaintiffs noticed a “deposition of the Florida Department

  of State pursuant to Federal Rule of Civil Procedure 30(b)(6)” “on December 2, 2024”

  “at the offices of the ACLU of Florida, 336 East College Avenue, Suite 203,

  Tallahassee, Florida 32301.” Attachment 1 (notice).




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         Counsel for the Secretary conferred with counsel for Plaintiffs. Counsel for the

  Secretary offered alternative deposition locations: the R.A. Gray Building, the

  Holtzman Vogel Tallahassee office (where some of his counsel work), and Zoom

  (which is the agreed upon method for taking expert depositions in this case).

  Attachment 2 (redacted email correspondence); Attachment 3 (expert deposition

  notices). Counsel for Plaintiffs rejected all of the alternative locations. They stated that

  it would be more convenient for their attorneys to have the deposition at the ACLU

  Tallahassee office. No other reason for the preferred location was provided.

                                           Argument

         Federal Rule of Civil Procedure 26(c)(1)(B) allows a court, “for good cause,” to

  “issue an order to protect a party or person from annoyance, embarrassment,

  oppression, or undue burden or expense, including” “specifying” the “time and place”

  of discovery. The civil rules, however, don’t specify where depositions are to take

  place, including 30(b)(6) depositions.

         “Although the federal rules do not prevent plaintiff’s designating any place he

  chooses for the taking of a defendant’s deposition, the case[ law] indicate[s] that it is

  presumed that a defendant will be examined at his residence or at his place of business

  or employment; if another place is named and defendant files a timely objection[,] the

  objection should be sustained absent some unusual circumstance to justify putting the

  defendant to such inconvenience.” Grey v. Cont’l Mktg. Assocs., Inc., 315 F. Supp. 826,

  832 (N.D. Ga. 1970).




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        The same is true with corporate defendants: it’s “well settled that the deposition

  of a corporation by its agents and officers should ordinarily be taken at its principal

  place of business, especially when, as in this case, the corporation is the defendant.”

  Salter v. Upjohn Co., 593 F.2d 649, 652 (5th Cir. 1979) (cleaned up). 1 This general rule

  also applies to governmental entities. See Miles v. Unites States, 2015 U.S. Dist. LEXIS

  188960, at *32-38 (M.D. Fla. Oct. 19, 2015) (the United States).

        Depositions of corporate defendants thus could and should be taken at their

  principal place of business—at their corporate building. See generally Sanders v. State

  Farm Mut. Auto. Ins. Co., 2015 U.S. Dist. LEXIS 190714, at *1-3 (N.D. Fla. June 29,

  2015); Simkins Corp. v. Wahnschaff Corp., 1986 U.S. Dist. LEXIS 29816, at *4 (E.D. Pa.

  Jan. 31, 1986).

        So strong is this general rule, that it “create[s] a presumption that the

  corporation has good cause for a protective order” when “a deposition is noticed to be

  taken at a location other than the corporation’s principal place of business.” Chris-Craft

  Indus. Prods., Inc. v. Kuraray Co., 184 F.R.D. 605, 607 (N.D. Ill. 1999). 2 “In order to



        1
            See also Canupp v. Liberty Behavioral Healthcare Corp., 2006 U.S. Dist. LEXIS
  102586, at *6 (M.D. Fla. Aug. 4, 2006) (“The deposition for a corporation generally
  occurs at the corporation’s principal place of business.”); 7 Moore’s Fed. P. – Civil §
  30.20[1][iii] (“The deposition of a corporation through its officers or agents normally
  must be taken at its principal place of business, at least when the corporation is not the
  plaintiff and did not choose the forum for the lawsuit or was not forced to commence
  litigation at a location away from its headquarters.”).
          2
            See also Miles, 2015 U.S. Dist. LEXIS 188960, at *36 (same); Simpkins, 1986
  U.S. Dist. LEXIS 29816, at *3 (“Defendant has not submitted evidence, by affidavit
  or otherwise, which would tend to establish ‘annoyance, embarrassment, oppression,


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  overcome this presumption, the party noticing the deposition must demonstrate that

  considerations of cost, convenience, and litigation efficiency dictate taking the

  deposition at an alternate location.” Miles, 2015 U.S. Dist. LEXIS 188960, at *36.

        Here, the R.A. Gray Building is the principal place of business of the

  Department of State. That makes it the presumptively appropriate location to have the

  deposition of the Secretary’s 30(b)(6) representative. Plaintiffs, however, haven’t

  overcome that presumption. They only justified the ACLU Tallahassee office as being

  more convenient for their attorneys. That’s simply not good enough. No “unusual,”

  Grey, 315 F. Supp. at 832, or outweighing “considerations of cost, convenience, and

  litigation efficiency” were provided, Miles, 2015 U.S. Dist. LEXIS 188960, at *36.

        Plaintiffs may also argue that they read the applicable cases differently—that

  they get to depose a corporate defendant in any location in the judicial district where the

  corporate defendant resides. But that can’t be right. It wouldn’t make sense for case

  law to afford corporate defendants a broad deposition-location presumption, only to

  have that presumption fall just short of the corporate headquarter doors. Plus, “[i]f the

  parties cannot agree upon the location of a party’s deposition, courts presume it will

  proceed at the deponent’s residence, business, or employment.” Miles, 2015 U.S. Dist.

  LEXIS 188960, at *36. Here, that’s the R.A. Gray Building.




  or undue burden or expense.’ Fed. R. Civ. P. 26(c). But the law has established a
  presumption in cases such as this one, and plaintiff has not shown any reason why I
  should disturb that presumption now.”).

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        Simple facts remain. The R.A. Gray Building is more convenient for the

  corporate deponent (who would work in the building), and for the Secretary’s counsel

  (most of whom work in the building). Plaintiffs are already willing to travel to

  Tallahassee for the deposition, but they fail to provide any outweighing reason why

  the ACLU Tallahassee office is a better location. As such, the deposition should take

  place in the R.A. Gray Building.

         Plaintiffs’ position is substantially unjustified. The Secretary therefore seeks

  reasonable expenses under Rule 26(c)(3) and 37(a)(5).

                                      *     *      *

        The Secretary asks this Court to grant his motion, prevent Plaintiffs from

  deposing his representative at the ACLU Tallahassee office, and assess reasonable

  expenses against Plaintiffs.




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   October 10, 2024                        /s/ Michael Beato
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                            Local Rule 3.01(g) Certification

        I certify that I corresponded with opposing counsel through email, Attachment

  2, and during a phone conversation on October 8, 2024. Both parties reached an

  impasse as to the deposition location.

                                           /s/ Michael Beato

                               Certificate of Compliance

        I certify that this motion complies with the typography requirements of Local

  Rule 1.08, and that it complies with Local Rule 3.01(a)’s page requirements.

                                           /s/ Michael Beato

                                  Certificate of Service

        I certify that on October 10, 2024, the foregoing was electronically served on all

  counsel of record.

                                           /s/ Michael Beato




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